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                         UNITED STATES DISTRICT
                        COURT FOR THE DISTRICT OF
                               COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
       v.                                    : CRIMINAL NO. 21-mj-434
                                             :
JAMES BREHENY,                               :
    Defendant.                               :


                          CONSENT MOTION TO CONTINUE

       The United States of America, by and through its attorney, the United States Attorney

for the District of Columbia, respectfully files this Consent Motion to Continue and toll the

above-captioned matter, that is scheduled for a hearing on February 1, 2022. Prior to the

scheduled hearing of February 1, the Government and the defendant agreed that there was and

continues to be good cause to continue the matter due to ongoing plea negotiations. Defendant

concurs in this request and agrees that it is in his best interest. The parties are requesting a

new hearing date scheduled on or about March 15, 2022 at 1 PM.

       The parties request that the time between today’s date and the next date in this matter

be excluded from time calculation under the Speedy Trial Act First. Chief Judge Howell’s

Standing Order 21-10, tolls times through March 15, 2021, in all cases that cannot be tried

consistent with health and safety protocols and limitations related to COVID-19

pandemic. Second, the defendant is charged in what likely is the largest criminal prosecution

in United States history; one that the government is continuing to investigate, in which over

700 defendants have been charged. This investigation has generated an enormous amount of

evidence, including, for example, over 14,000 hours of Capitol surveillance video, more than

200,000 tips from the public, and 250 terabytes of total data. The government is investigating
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and reviewing this and other evidence expeditiously and begin producing discovery to

defendants consistent with its constitutional and statutory obligations, but doing so will take

time. Third, the time between today’s date and the next date will provide the parties the

opportunity to engage in plea negotiations, in hopes of resolving this case short of trial. For all

of those reasons, the ends of justice are served by tolling time and those interests outweigh the

best interests of the public and the defendant in a speedy trial.



   Dated: January 27, 2022

                                      Respectfully submitted,

                                      MATTHEW GRAVES
                                      UNITED STATES ATTORNEY

                             By:     /s/ Louis Manzo
                                    Louis Manzo
                                    Special Assistant United States Attorney
                                    Mass Bar: 688337
                                    555 4th Street, N.W.
                                    Washington, D.C. 20530
                                    (202) 262-6570;
                                    Louis.manzo@usdoj.gov




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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA                       :
                                                :
        v.                                      : CRIMINAL NO. 21-mj-434
                                                :
 JAMES BREHENY,                                 :
     Defendant.                                 :


                                            ORDER

       This matter having come before the Court pursuant to a Consent Motion to Continue and

Exclude Time for Indictment, it is therefore:

       ORDERED that the complaint and previous order of pre-trial release with conditions of

supervised release remain in full force and effect.

       ORDERD that the matter is continued until March 15, 2021 at 1 PM.

       ORDERED that the period from February 1, 2022 through the next status date shall be

excluded from computing the time within which an information or indictment must be filed under

the Speedy Trial Act because the ends of justice served by such a continuance outweigh the

interests of the public and the defendant in a speedy trial. See 18 U.S.C. '' 3161(h)(1) & (h)(7).

The Court finds that there is voluminous and evolving discovery, and that delay is necessary for

the parties to consider resolutions.

                                                It Is So Ordered.


                                                ______________________________________
                                                Zia M. Faruqui
                                                United States Magistrate Judge


Entered: ___________________________
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                              CERTIFICATE OF SERVICE

       I hereby certify that a copy of the Consent Motion to Exclude Time for Indictment was
served upon counsel of record for the defendant through the electronic court filing system, this
27th day of January 2022.



                              By:     /s/ Louis Manzo
                                    Louis Manzo
                                    Special Assistant United States Attorney
                                    Mass Bar 688337
                                    555 4th Street, N.W.
                                    Washington, D.C. 20530
                                     (202) 262-6570
                                     Louis.manzo@usdoj.gov




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